 Case 1:21-cr-00479-BMC Document 38 Filed 01/08/24 Page 1 of 1 PageID #: 218




                                                                     ‭January 8, 2024‬
‭ y ECF and Email‬
B
‭The Honorable Brian M. Cogan‬
 ‭United States District Judge‬
  ‭Eastern District of New York‬
   ‭225 Cadman Plaza East‬
    ‭Brooklyn, New York 11201‬

                ‭RE:‬‭U.S.A. v. Frantz Simeon‬‭, 21-CR-479 (BMC)‬

‭Your Honor:‬

          I‭ write to request an adjournment of the sentencing in the above-captioned matter,‬
‭scheduled for January 9, 2024, at 4:30 p.m. Undersigned counsel is on jury duty in the Southern‬
 ‭District of New York. Last week I advised Chambers and the Government of the possibility that‬
  ‭my duty would extend to January 9, 2024.‬

         ‭ ince it has become necessary for me to return to jury duty on January 9, 2024, I must‬
         S
‭respectfully request a short adjournment of this sentencing.‬

       ‭Thank You for Your attention to and consideration in this matter.‬

                                                     ‭Respectfully Submitted,‬




                                                       ‭ ichael P. Padden, Esq.‬
                                                       M
                                                      ‭Assistant Federal Defender‬
                                                     ‭718-330-1240‬
                                                       ‭michael_padden@fd.org‬

‭cc: Counsel of Record‬
